            Case 4:17-cr-00163-O Document 126 Filed 01/22/18                             Page 1 of 4 PageID 343
                              UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            Fort Worth Division

 UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE

 v.                                                          Case Number: 4:17-CR-00163-O(02)
                                                             U.S. Marshal’s No.: 56002-177
 ANDREA SUE COKER                                            Shawn Smith, Assistant U.S. Attorney
                                                             J. Steven Bush, Attorney for the Defendant


        On September 27, 2017 the defendant, ANDREA SUE COKER, entered a plea of guilty as to Count One
of the Information filed on September 20, 2017. Accordingly, the defendant is adjudged guilty of such Count,
which involves the following offense:

 Title & Section                     Nature of Offense                                       Offense Ended    Count
 21 U.S.C. § 846                     Conspiracy to Possess with Intent to Distribute a       7/31/2017        One
                                     Controlled Substance


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

       The defendant shall pay immediately a special assessment of $100.00 as to Count One of the
Information filed on September 20, 2017.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                         Sentence imposed January 16, 2018.




                                                         ____________________________________________
                                                         REED O’CONNOR
                                                         U.S. DISTRICT JUDGE


                                                         Signed January 22, 2018.
          Case 4:17-cr-00163-O Document 126 Filed 01/22/18                  Page 2 of 4 PageID 344
 Judgment in a Criminal Case                                                                          Page 2 of 4
 Defendant: ANDREA SUE COKER
 Case Number: 4:17-CR-00163-O(2)



                                              IMPRISONMENT

       The defendant, ANDREA SUE COKER, is hereby committed to the custody of the Federal Bureau of
Prisons (BOP) to be imprisoned for a term of Eighty-Four (84) months as to Count One of the Information filed
on September 20, 2017.

      The Court recommends to the BOP that the defendant be allowed to participate in the Residential Drug
Treatment Program, if eligible. The Court further recommends to the BOP that the defendant be housed at the
FCI Carswell, Texas facility, if possible.

       The defendant is remanded to the custody of the United States Marshal.

                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of Four
(4) years as to Count One of the Information filed on September 20, 2017.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission, the defendant shall:

( 1)   not leave the judicial district without the permission of the Court or probation officer;
( 2)   report to the probation officer as directed by the Court or probation officer and submit a truthful
       and complete written report within the first five (5) days of each month;
( 3)   answer truthfully all inquiries by the probation officer and follow the instructions of the probation
       officer;
( 4)   support the defendant's dependents and meet other family responsibilities;
( 5)   work regularly at a lawful occupation unless excused by the probation officer for schooling,
       training, or other acceptable reasons;
( 6)   notify the probation officer within seventy-two (72) hours of any change in residence or
       employment;
( 7)   refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
       narcotic or other controlled substance, or any paraphernalia related to such substances, except as
       prescribed by a physician;
( 8)   not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;
( 9)   not associate with any persons engaged in criminal activity and not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;
(10)   permit a probation officer to visit the defendant at any time at home or elsewhere and permit
       confiscation of any contraband observed in plain view by the probation officer;
(11)   notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law
       enforcement officer;
(12)   not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       without the permission of the Court; and,
(13)   notify third parties of risks that may be occasioned by the defendant's criminal record or personal
       history or characteristics, and permit the probation officer to make such notifications and to
        Case 4:17-cr-00163-O Document 126 Filed 01/22/18                  Page 3 of 4 PageID 345
Judgment in a Criminal Case                                                                         Page 3 of 4
Defendant: ANDREA SUE COKER
Case Number: 4:17-CR-00163-O(2)



     confirm the defendant's compliance with such notification requirement, as directed by the
     probation officer.

     In addition the defendant shall:

     not commit another federal, state, or local crime;

     not possess illegal controlled substances;

     not possess a firearm, destructive device, or other dangerous weapon;

     cooperate in the collection of DNA as directed by the U.S. probation officer;

     report in person to the U.S. Probation Office in the district to which the defendant is released from the
     custody of the Federal Bureau of Prisons within 72 hours of release;

     refrain from any unlawful use of a controlled substance, submitting to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
     officer pursuant to the mandatory drug testing provision of the 1994 crime bill;

     participate in mental health treatment services as directed by the probation officer until successfully
     discharged, which services may include prescribed medications by a licensed physician, with the
     defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per month;
     and,

     participate in a program approved by the probation officer for treatment of narcotic or drug or alcohol
     dependency that will include testing for the detection of substance use, abstaining from the use of
     alcohol and all other intoxicants during and after completion of treatment, contributing to the costs of
     services rendered (copayment) at the rate of at least $25 per month.

                                               FINE/RESTITUTION

     The Court does not order a fine or costs of incarceration because the defendant does not have the financial
     resources or future earning capacity to pay a fine or costs of incarceration.

     Restitution is not ordered because there is no victim other than society at large.
       Case 4:17-cr-00163-O Document 126 Filed 01/22/18                 Page 4 of 4 PageID 346
Judgment in a Criminal Case                                                                 Page 4 of 4
Defendant: ANDREA SUE COKER
Case Number: 4:17-CR-00163-O(2)



                                                  RETURN

           I have executed this judgment as follows:




           Defendant delivered on _____________________ to ___________________________________

     at ________________________________________________, with a certified copy of this judgment.


                                                       United States Marshal

                                                       BY
                                                       Deputy Marshal
